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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="a9b8dbf47a"&gt;&lt;span data-sentence-id="3f66b5056a" quote="false" data-paragraph-id="a9b8dbf47a"&gt; James Michael Lighthall, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="63964ce566" quote="false" data-paragraph-id="a9b8dbf47a"&gt; &lt;br /&gt; The People of the State of Colorado.&lt;/span&gt; Respondent &lt;/p&gt;&lt;p data-paragraph-id="d35780a014"&gt;No. 22SC377&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="ae9ab08ac5"&gt;November 14, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="d3b9c25984"&gt;&lt;span data-sentence-id="9994a4646f" quote="false" data-paragraph-id="d3b9c25984"&gt; Court of Appeals Case No. 19CA629 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="1b382ec2dd"&gt;&lt;span data-sentence-id="f7056cccd2" quote="false" data-paragraph-id="1b382ec2dd"&gt; CHIEF JUSTICE BOATRIGHT would grant as to the following issue: &lt;/span&gt;&lt;/p&gt;
 &lt;blockquote&gt;
 Whether the trial court lacked statutory authority to
 sentence Lighthall to concurrent terms of both incarceration,
 under Colorado's Sex Offender Lifetime Supervision Act,
 and sex offender intensive supervision probation.
 &lt;/blockquote&gt;
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